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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,     )
                              )
              Plaintiff,      )     ORDER OF DETENTION (AMENDED)
                              )     PENDING HEARING
       vs.                    )
                              )
Frederick E. Decoteau, II,    )     Case No. 4:06-cr-070
                              )
              Defendant.      )
                              )
______________________________________________________________________________

       Upon the Motion of the United States for detention of the defendant, and for a detention

hearing, it is hereby ORDERED that an arraignment and detention hearing be scheduled for

Tuesday, March 6, 2007, at 1:00 p.m. at the Federal Building and U.S. Courthouse in Minot, North

Dakota (via video).

       It is FURTHER ORDERED that pending said hearing, the defendant shall be committed

to the custody of the Attorney General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or serving sentences

or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity

for private consultations with defense counsel. On order of a court of the United States or on request

of an attorney for the Government, the person in charge of the corrections facility shall deliver the

defendant to the United States Marshal for the purpose of an appearance in connection with a court

proceeding.

       Dated this 5th day of March, 2007.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr.
                                               United States Magistrate Judge
